                                                  U.S. Department of Justice

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VIA ECF                                           December 6, 2021

The Honorable David T. Schultz
United States Magistrate Judge
United States District Courthouse
Minneapolis, MN 55415

       Re: United States v. Anton Lazzaro, et al.; 21-cr-173-01 (PJS/DTS)

Dear Magistrate Judge Schultz:

       The United States submits this response to the letter filed by Defendant Anton
Lazzaro on December 3, 2021 as ECF No. 95, in which he asserts the United States failed
to respond to his to motion to vacate restraints on certain seized property, and that the
motion should therefore be granted.

       Although this Court initially scheduled a hearing date of December 15, 2021 for this
motion, the Court subsequently extended those dates when it granted the Defendants’
unopposed Second Motion for Extension of Time to File Pretrial Motions. ECF No. 82.
That November 15, 2021 Order set a January 10, 2022 deadline for “all motions in this
case,” and required that “responses to the motions shall be filed by January 24, 2022.” A
new motions hearing date was then set for February 17, 2022. Id.

        The government understands that the November 15, 2021 Order supplanted the
earlier briefing order and established that its responses to all motions, including the motion
regarding the property subject to forfeiture, are due on January 24, 2022, and will be heard
on February 17, 2022. As a result, the government’s response is not yet due and a decision
at this time would be premature.

                                                  Respectfully submitted,

                                                  CHARLES J. KOVATS, JR.
                                                  Acting United States Attorney

                                                  s/Laura M. Provinzino
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